        Case 3:19-cv-00410-EMC Document 499-2 Filed 09/17/22 Page 1 of 2




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                                                    COOLIT SYSTEMS, INC., and Defendants
11                                                  COOLIT SYSTEMS USA INC., COOLIT
                                                    SYSTEMS ASIA PACIFIC LIMITED, COOLIT
12                                                  SYSTEMS (SHENZHEN) CO., LTD., CORSAIR
                                                    GAMING, INC. and CORSAIR MEMORY, INC.
13

14                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA -
15                                 SAN FRANCISCO DIVISION

16   ASETEK DANMARK A/S,                                CASE NO. 3:19-cv-00410-EMC

17                        Plaintiff and                 [PROPOSED] ORDER GRANTING
                          Counterdefendant,             JOINT ADMINISTRATIVE MOTION
18                                                      FOR FILING UNDER SEAL
     ASETEK USA, INC.,
19
                          Counterdefendant,
20
                   v.
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     COOLIT SYSTEMS, INC.,
22
                          Defendant and
23                        Counterclaimant,

24   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED, COOLIT
25   SYSTEMS (SHENZHEN) CO., LTD.,

26                        Defendants,

27   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
28
                          Defendants.
                                                                          [PROPOSED] ORDER GRANTING JOINT
                                                                       ADMIN. MOTION FOR FILING UNDER SEAL
                                                                               CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 499-2 Filed 09/17/22 Page 2 of 2




1                                         [PROPOSED] ORDER

2           1.      The Court having reviewed the parties Joint Administrative Motion for Filing Under

3    Seal and the Declaration of Jeffrey D. Smyth in Support of the Motion, and good cause appearing

4    therefore, IT IS HEREBY ORDERED THAT the highlighted portions of the Court’s Order (Dkt.

5    497) Granting in Part and Denying in Part Parties’ Motions in Limine and Motions to Strike be filed

6    partially under seal.

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10   Dated: ____________________                          _________________________
                                                          Honorable Edward M. Chen
11                                                        United States District Court Judge
                                                          Northern District of California
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                                                                                 [PROPOSED] ORDER GRANTING JOINT
                                                      1                       ADMIN. MOTION FOR FILING UNDER SEAL
                                                                                      CASE NO. 3:19-CV-00410-EMC
